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RETURN OF SERVICE

 

State of Florida County of Middle District U.S. District Court
Case Number: 8:20-CV-02453-T-33AAS | | |

Plaintiff: | | | | | Ml A ll | |
MIKE BRINKMAN MJD2020008832

VS.

Defendant:

EQUIFAX INFORMATION SERVICES, LLC, AND ACCOUNT RESOLUTION
SERVICES, LLC

For:

Octavio Gomez, Esq.

Morgan & Morgan Tampa, P.A.
201 N. Franklin St.

One Tampa City Center, Suite 700
Tampa, FL 33602

Received by Process Services, Inc. on the 2nd day of November, 2020 at 9:05 am to be served on ACCOUNT
RESOLUTION SERVICES, LLC c/o Alcoa Billing Center, 3429 Regal Drive, Knoxville, Knoxville, TN 37701.

|, John Walker, do hereby affirm that on the 5th day of November, 2020 at 12:38 pm, I:

ad

SERVED the within name Limited Liability Company by delivering a true copy of the Summons in a Civil Action,
Complaint and Demand for Jury Trial,, Civil Cover Sheet, Case Assigned (Judge Covington and Magistrate Judge
Sansone) with the date and hour of service endorsed thereon by me to:Susan K. Teffeteller as employee of the
Registered Agent (Company) for ACCOUNT RESOLUTION SERVICES, LLC at 3429 Regai Drive, Knoxville,
Knoxville, TN 37701 during regular business hours and informed said person of the contents therein- in
accordance with Fl. Statute 48.062 (1)

| certify that | have no interest in the above action, am of legal age and have proper authority in the jurisdiction in
which this service was made.

NO NOTARY REQUIRED PURSUANT TO F.S. 92.525(2)

fel hile. -

Jdfin Walker
Process Server

 

Process Services, inc.
8382 State Road 84

Fort Lauderdale, FL 33324
(954) 474-4867

Our Job Serial Number: MJD-2020008832

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